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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
RYAN SAMSEL,
                                                          Petitioner,                  Civil Action No. 24-cv-05026
         -against-                                                                     (Kovner, J.)

COLETTE S. PETERS, Director of Federal Bureau of
Prisons, WARDEN, Metropolitan Detention Center –
Brooklyn, Federal Bureau of Prisons, RONALD L. DAVIS,
Director U.S. Marshalls Service, THOMAS N. FAUST,
Director Department of Corrections of the District of
Columbia, and MERRICK GARLAND, Attorney General
as Head of the U.S. Department of Justice,

                                                          Respondents.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                   FEDERAL RESPONDENTS’ MEMORANDUM OF LAW
                     IN OPPOSITION TO PETITIONER’S MOTION FOR
                  A PRELIMINARY INJUNCTION AND TO HIS REQUESTS
                  FOR THE ISSUANCE OF A WRIT OF HABEAS CORPUS
                     AND THE ISSUANCE OF A WRIT OF MANDAMUS




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                                 PRELIMINARY STATEMENT

        Respondents Colette S. Peters, Director, Federal Bureau of Prisons (BOP), Warden of the

Metropolitan Detention Center – Brooklyn (“MDC”), Ronald L. Davis, Director, United States

Marshalls Service (“USMS”), and Merrick Garland, Attorney General of the United States of

America (collectively “Federal Respondents”), 1 respectfully submit this memorandum of law in

opposition to the motion for a preliminary injunction in this habeas action pursuant to 28 U.S.C.

§ 2241 brought by Petitioner Ryan Stephen Samsel (“Samsel”),. Federal Respondents also oppose

Samsel’s petitions for a writ of habeas corpus and a writ of mandamus.

        Samsel, a convicted “January 6th” defendant, seeks to have this Court order that he remain

in Brooklyn even though he is scheduled to be sentenced next month in the District of Columbia.

Further, contrary to Samsel’s claims, Federal Respondents have not denied, and are not denying,

necessary medical care to Samsel, and have not failed to provide him with his medical records.

For these reasons, Samsel’s motion for a preliminary injunction must be denied. Samsel is not

entitled to this extraordinary remedy against Federal Defendants.

        Samsel’s habeas petition seeking immediate release to obtain medical treatment should be

denied because he failed to exhaust administrative remedies before bringing this action. In any

event, there is no reason for the Court to order the requested relief. Samsel is not being deprived

of adequate medical care, including independent evaluation.

        Finally, Samsel is not entitled to the issuance of a writ of mandamus. He has not shown

that Federal Respondents have failed to execute any nondiscretionary duty or that no other

adequate remedy is available.



        1
          Thomas N. Faust, Director of the Department of Corrections of the District of Columbia is not a
federal official.


                                                   1
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        Accordingly, Federal Respondents request that the Court deny Samsel’s motion for a

preliminary injunction. Federal Respondents further request that the Court deny the petition for a

writ of habeas corpus and the petition for a writ of mandamus.

                                  STATEMENT OF THE CASE

A. Relevant Background

        On January 6, 2021, Samsel was in the group that breached the United States Capital

grounds and interrupted the joint session of Congress that had convened to certify the Electoral

College votes for the 2020 presidential election. See United States v. Samsel, et al, 21-cr-00537-

JMC-1 (D.D.C.) (“Crim. Dkt.”) Doc. #345 (Findings of Fact and Conclusions of Law) at 4-6, 7. 2

After entering the closed area, Samsel pushed a metal barricade (bicycle rack) into Officer C.E.

and struck her in the face with it causing her to fall and strike her head. Id. at 8-9. Following the

breach, Samsel had multiple skirmishes with United States Capitol Police (“USCP”) officers on

the Capitol grounds, including striking some with a flagpole, throwing a plank at them, and

grabbing an officer’s riot shield. Id. at 11.

        Samsel was charged in a criminal complaint on January 29, 2021. See Crim. Dkt. Doc. #1;

see also Declaration of Nicole T. Lewis dated August 19, 2024 (“Lewis Decl.”) Ex. 2. He was

arrested on January 30, 2024, and has been held without bond since his arrest in several federal

and local facilities. See Lewis Decl. Ex. 1.

        The filings on the public docket in Samsel’s criminal case reveal these salient facts

concerning Samsel’s medical treatment and records:




        A printout of this docket report is Exhibit A to Declaration of Assistant U.S. Attorney Kathleen
        2

A. Mahoney dated August 20, 2024.


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       On September 11, 2021, Samsel filed an emergency motion seeking to have USMS and/or

Central Virginia Regional Jail (where he was housed) provide “medically necessary” treatment

and produce his medical records. See Crim. Dkt. Doc. #49. The Government’s Status Report dated

September 20, 2021, stated that USMS had provided all of Samsel’s medical records that were

available to USMS to Samsel’s defense counsel and that Samsel had undergone examination in

August. See Crim. Dkt. Doc. #51 at 1-2; see also Doc. #57 at 12. Samsel subsequently reported

that he had not been treated for new injuries. Crim. Dkt. Docs. #54, #55. By Minute Order

following a hearing on October 29, 2021, United States District Judge Timothy Kelly ordered the

Government to provide Samsel’s counsel by November 9, with all of Samsel’s medical records

pertaining to his medical care while detained. See Crim. Dkt. p.20. On November 22, defense

counsel acknowledged that Samsel had received “a voluminous production of medical records”

and only a few records remained outstanding. Crim. Dkt. Doc. #63 at 2-3. 3

       On November 23, 2021, Judge Kelly denied as moot Samsel’s September 11, 2021 motion

for medical treatment. Crim. Dkt. p.21. On November 29, Judge Kelly ordered Samsel’s temporary

release to the custody of the Commonwealth of Pennsylvania for the limited purpose of being

incarcerated on the detainer warrant because there was reason to believe Samsel required “medical

treatment that may be more readily available at the Pennsylvania facility.” Crim. Dkt. Doc. #65.

       On April 1, 2022, Samsel filed a motion for review and revocation of his detention order.

Crim. Dkt. Doc. #142. Among other things, Samsel maintained that he had not received medical

treatment necessitated by injuries sustained while detained. Id. at 1-2. Samsel asserted that medical

appointments were made while he was in the custody of the Commonwealth of Pennsylvania, but


       3
          These statements were made in Samsel’s unopposed motion pursuant to 18 U.S.C. § 3142(i) for
temporary release to the custody of the Commonwealth of Pennsylvania for the limited purpose of being
incarcerated on the detainer warrant lodged against him in that jurisdiction.

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he had been released back to federal custody and no longer had access to his medical records. Id.

at 10-11. In its response, the Government refuted Samsel’s claim that that he did not have access

to his medical records at United States Penitentiary (“USP”) Lewisburg, 4 pointing out that defense

counsel had acknowledged receipt of voluminous records. Crim. Dkt. Doc. #147 at 20-21. The

Government stated that a physician at USP Lewisburg had asked Samsel to tell his attorney that

the doctor needed those records. 5 Id. at 21. The Government also explained that the medical

providers at USP Lewisburg have access to all of Samsel’s medical records from federal detention

centers because BOP records are centralized. Id. On May 18, 2022, Judge Cobb denied Samsel’s

motion seeking revocation of the detention order. 6 Crim. Dkt. Doc. #161.

        By Order dated May 17, 2022, Judge Cobb ordered that Samsel receive an independent

medical evaluation at a tertiary research center within 14 days, and recommended the University

of Pennsylvania Medical Center in Philadelphia. Crim. Dkt. Doc. #159. The United States obtained

an extension due to COVID quarantine. See Crim. Dkt. Docs. #164, 165. The United States had to

seek a second extension because Samsel refused to allow Health Services Staff at FDC

Philadelphia to examine him in order to provide the referral necessary to schedule the evaluation.

Crim. Dkt. Doc. #171.




        4
         On March 4, 2022, United States District Judge Jia M. Cobb ordered USMS to transfer Samsel
from the Federal Detention Center (“FDC”) in Philadelphia to USP Lewisburg. Crim. Dkt. Doc. #119.
        5
          In a subsequent filing, the Government stated that defense counsel had not provided Samsel’s
records as requested by Dr. Andrew Edinger (at USP Lewisburg) in March 2022. Crim. Dkt. Doc. #183
n.3. USMS subsequently provided the records to the BOP. Id.
        6
          On July 22, 2022, the United States Court of Appeals for the District of Columbia Circuit affirmed
the order denying Samsel’s motion to revoke pretrial detention, holding that the district court did not err in
finding that no condition or combination of conditions would adequately address Samsel’s threat to the
community or err in finding that Samsel’s medical condition did not warrant his release. United States v.
Samsel, Docket No. 22-3034, 2022 WL 2903450 (D.C. Cir. July 22, 2022).

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       On June 28, 2022, Samsel was seen for an independent vascular consultation regarding his

thoracic outlet syndrome by vascular surgeon Babak Abai, M.D., Thomas Jefferson University in

Philadelphia. See 24-cv-05027 Dkt. #1 pp.99-100; Crim. Dkt. Doc. #195-1 at 2. Dr. Abai

recommended that Samsel first see Dr. Lazar regarding his nipple discharge, and undergo certain

diagnostic tests. Crim. Dkt. Doc. 195-1 at 2. The medical staff at FDC Philadelphia ordered the

tests (x-rays, bilateral mammogram, ultrasound of the left breast). Crim. Dkt. Doc. #180-1 at 1;

see Doc. #183 at 8; see also Dkt. #1 p.115, 117-19, 121.

       In a July 6, 2022 “Status Report” Samsel asked to be temporarily released from custody

pursuant 18 U.S.C. § 3142(i) (implicitly on home confinement) or, alternatively sent back to USP

Lewisburg. Crim. Dkt. Doc. #180; see also Doc. #186. By Order dated July 28, 2022, Judge Cobb

denied Samsel’s renewed request for temporary release but requested that USMS and/or BOP

transfer him back to USP Lewisburg, noting that the evaluation to determine whether he had any

immediately pressing medical issues had occurred and acknowledging that the transfer might delay

the follow-up testing. Crim. Dkt. Doc. #187.

       Samsel was seen by breast surgeon Melissa A. Lazar, M.D., at Jefferson Vascular Center

at Thomas Jefferson University Hospital on August 8, 2022. See Dkt. #1 pp.131-37. She told

Samsel that the bilateral mammogram had not revealed any suspicious findings in either breast;

there was moderate gynecomastia. Id. p.133-34 (repeated 147-51). The ultrasound had shown

moderate gynecomastia. Id. p.134. Due to the continued nipple discharge, Dr. Lazar believed that

surgical excisional biopsy was reasonable. Id. p. 134. On September 1, the surgery (bilateral breast

excisional biopsy) was canceled because Samsel had refused the required pre-admission lab

testing. See 24-cv-05027 Dkt. #1 p.49. Dr. Lazar confirmed that no further follow-up was needed

and discharge Samsel from her care. Id.; see also Crim. Dkt. Doc. #195 at 3.



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       On September 2, 2022, Samsel filed a renewed motion for temporary release for the

purpose of having a surgical procedure to his chest performed by a Dr. Jared Liebman rather a

doctor chosen by USMS or BOP. Crim. Dkt. Doc. #191. The United States opposed the motion,

arguing that Samsel’s decision to refuse and obstruct medical care arranged by his detention

facility was not a valid reason for release. Crim. Dkt. Doc. #195. The biopsy, which Samsel himself

had prevented from going forward, was neither urgent nor required.

       Samsel was transferred back to USP Lewisburg. See Crim. Dkt. Doc. #198.

       By Minute Order dated October 3, 2022, Judge Cobb denied Samsel’s second motion for

temporary release, holding in relevant part that Samsel’s argument that release was necessary to

receive medical care from his doctors, as opposed to doctors selected by BOP, fails because BOP

may impose restrictions on medical treatments as long as the restrictions are reasonably related to

a legitimate government interest. Crim. Dkt. p.35. Here, the Government’s interest in protecting

the safety of the community and ensuring Samsel’s appearance at trial satisfied that standard.

“Additionally, Defendant has not shown that the government’s treatment is inadequate, partially

because Defendant has refused procedures meant to address his health concerns.” However, Judge

Cobb ordered BOP to give Samsel another opportunity to complete the required laboratory testing

and receive the biopsy. Id. She also ordered the Government to provide Samsel and his doctors

with necessary medical information to the extent that any has been withheld. Id.

       On November 18, 2022, Samsel was seen by an independent vascular surgeon, Evan Joseph

Ryer, M.D., for evaluation of his thoracic outlet syndrome, chronic bilateral subclavian vein

occlusions since 2012, and pain and paresthesia since 2015. See Dkt. #1 pp. 49-58. Samsel had

stopped taking Eliquis, which had managed his symptoms, in 2019. Id. p.50. Dr. Ryer concluded




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that Samsel would not benefit from surgery (1st rib resection), and recommended physical therapy.

Id. p.56.

        On December 16, 2022, Samsel filed a motion to seeking to delay his trial and compel

medical treatment and production of medical records, including third-party records. Crim. Dkt.

Doc. #229. In its opposition, the United States reported that Samsel had undergone another

vascular surgery consult on November 19, and “they believe that . . . surgery is not likely to be of

further benefit in attempting to restore venous return from either arm.” Crim. Dkt. Doc. #232 at 3.

Samsel also had a plastic surgery consult; the results had not yet been received. Id.

        In a Minute Order dated January 30, 2023, Judge Cobb agreed that Samsel had medical

issues that deserve attention, but “has not shown that inadequate medical treatment is the proximate

cause of his inability to prepare for trial” and the Court does not have authority to compel third

parties to provide the requested relief. Crim. Dkt. p.40. However, “to the extent that [BOP] is

withholding records, Defendant may draft a proposed order and serve it on [BOP] to give them an

opportunity to respond.” Id.

        On August 27, 2023, Samsel filed a motion for reconsideration of detention order based

on, inter alia, medical necessity. Crim. Dkt. Doc. #264. Samsel asked to be released “for the

purpose of a medical procedure, specifically surgery on his chest” by Dr. Liebman. Id. at 1. Samsel

had not seen a third-party medical provider since arriving at the MDC on April 25, 2023. Id. at 4.

In its response, the United States recounted that: during a hearing on August 23, Samsel stated that

after being placed in the Special Housing Unit on August 20 (pending a hearing on his violating

MDC rules concerning unauthorized phone usage), he was injured in a physical altercation with

his cellmate; and at a hearing on August 30, he stated that in the altercation, his tooth had been

cracked exposing a nerve, and he had been unable to eat or drink anything for six days. Crim. Dkt.



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Doc. #266 at 7-8; see also Doc. #265. However, Samsel’s medical records documented that he

reported on the day prior to the fight, that he had broken his tooth while chewing and that he was

being provided with dental care. Crim. Dkt. Doc. #266 at 8. After the fight, Samsel was treated for

facial bruising and abrasions, and later for gastrointestinal complaints, vomiting and loss of

appetite due to no longer having access to Suboxone, which he had been purchasing from other

detainees. Id.

       By Minute Order dated October 2, 2023, Judge Cobb denied Samsel’s motion for

reconsideration of the detention order. Crim. Dkt. pp.44-45. With respect to Samsel’s argument

that he should be released to be treated by his own doctors, the Court found that “nothing has

significantly changed” since he last sought release, and that on the current record, the Court could

not find that he has a need for immediate surgery or medical intervention that cannot be provided

by the facility or that requires his release. Id. p.45. In a Minute Order dated October 3, 2023, also

denying the motion for reconsideration, Judge Cobb noted that Samsel currently was being housed

ahead of trial at the Central Treatment Facility in Washington, D.C. Id.

       Judge Cobb conducted the bench trial for Samsel and four co-defendants over seven days

between October 23 and November 2, 2023. See Crim. Dkt. pp.47-50. On February 2, 2024, Judge

Cobb rendered the verdict finding Samsel guilty on eight counts: obstructing officers during a civil

disorder; assaulting Officer C.E. (inflicting bodily injury using a deadly/dangerous weapon);

disorderly conduct in the Capitol Building or Grounds; act of physical violence in the Capitol

Building or Grounds; obstruction of an official proceeding; civil disorder; assaulting, resisting or

impeding USCP officers (physical contact or intent to commit another felony); and assaulting,

resisting or impeding USCP officers using a deadly/dangerous weapon. Samsel is scheduled to be

sentenced along with his co-defendants on September 19, 2024. See id. p.57.



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       On or about February 27, 2024, Samsel was transferred back to the MDC. See Lewis Decl.

Ex. 1. He is currently housed there. Id. A plastic surgery consultation regarding Samsel’s

gynecomastia was scheduled for September 17, 7 but it will be rescheduled because Samsel will

not be in Brooklyn. Declaration of Bruce Bialor, M.D., dated August 20, 2024 (“Bialor Decl.” ¶ 7.

Samsel is being sentenced in the District of Columbia on September 19. See Crim. Dkt. at 57. The

USMS will need to transfer Samsel to a facility closer to the District of Columbia prior to his

sentencing. Federal Respondents are unable to provide specifics, such as the transfer dates and

location, due to security concerns.

       B. The Habeas Petition (24-cv-05026)

        On July 19, 2024, Samsel filed a petition for a writ of habeas corpus (Dkt. #1), which was

docketed as pursuant to 28 U.S.C. § 2241. Samsel asked to be “immediately released for transport

to external physicians or teams or department of physicians who are not under the influence or

control of the Respondents.” Petition at 7. Samsel also asked that the Court “order the Respondents

to fulfill their non-discretionary responsibilities and cooperate in good faith and to the maximum

extent possible in the unhindered, uninfluenced medical evaluations of external, independent

doctors and the implementation of those doctor’s orders” (id. at 35).

C. The Mandamus Petition (24-cv-05027)

       Also on July 19, 2024, Samsel filed a pleading styled as a petition for a writ of mandamus

in a separate action, 24-cv-05027 (RPK)(PK). Samsel claimed to have had “emergency medical

conditions that require immediate attention and treatment” since 2015, and that BOP has been

denying him necessary medical care since his arrest in 2021. Dkt. 24-cv-05027 Doc. #1 pp.6-7.


       7
         Gynecomastia is a benign (non-cancerous) increase of breast volume in males most often due to
an imbalance of testosterone and estrogen. www.htmpl://My.clevelandclinic.org/health/symptoms/16227-
enlarged-male-breast-tissue-gynecomastia.

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Samsel identified the medical condition as bilateral thoracic outlet syndrome and said that prior to

his arrest, he had been scheduled to undergo a glandsectomy by a plastic surgeon in March 2021.

Id. He stated that he also has bilateral gynecomastia. Id. p.7.

        The mandamus relief that Samsel requested with respect to Federal Respondents is: 8

        (C) order all Respondents to immediately (“today”) transport him to the nearest hospital

that has “a full-range of medical capabilities including the glandsectomy procedure by a plastic

surgeon [he] was prescribed almost 4 years ago, treatment of blood clots and including surgery to

correct congenital bone deformities and/or birth defects;”

        (D) order all Respondents cooperate ensuring that the hospital has access to all of his

medical records and contact information for previous doctors;

        (E) order all Respondents cooperate in allowing him to obtain “updated diagnosis,

documentation, prescription and medical reports so that [he] may present them to the Court as

evidence;”

        (F) order all Respondents to cooperate in transporting him to Court to appear in this case;

        (H) order Attorney General Garland to “address his duties under 42 U.S.C. § 1997a;

        (I) order all Respondents cooperate in providing prescribed medication, specifically blood

thinning medication; and

        (J) order that the cost of medical treatment and surgery not be considered.

Id. at 14-17.




        8
         Samsel’s other requests concern the Court itself or unidentified doctors, including ones who
diagnose him in the future. Samsel subsequently withdrew (K) (order that he be allowed to undergo the
glandsectomy procedure by a particular plastic surgeon) in an errata/motion to amend the petitions filed on
August 8, 2024. 24-cv-05026 Dkt. #5; 24-cv-05027 Dkt. #7. The Court granted the motion to amend by
Order dated August 14, 2024.

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       Summonses were issued in this action on July 19, 2024. Dkt. #3. The Certificate of Service

indicates that service was made on July 30, 2024. Dkt. # 8.

D. Samsel’s Motion for Temporary Restraining Orders (24cv-05026)

       On August 5, 2024, Samsel filed a motion for temporary restraining orders (“TRO”) in 24-

cv-05026. Dkt. #3. Samsel asked the Court to:

       (1) prohibit the USMS, BOP and/or the U.S. Department of Justice “generally from
           interfering with this Court’s ability to take jurisdiction of this case and consider the
           issues by transferring [him] to a different prison in a different city”;

       (2) he be immediately examined by “doctors qualified in the area or in each of the areas
           necessary to independently determine what if any urgent care [he] requires to preserve
           his health while the Court considers this case and to independently confirm that [he]
           requires the medical care”; and

       (3) Respondents locate and disclose any and all medical records, notes, evaluations, etc.
           that Petitioner reports kept disappearing during his moves.

Dkt. #3 at 2-3.

       In a Docket Order dated August 6, 2024, the Court sua sponte denied the motion for a TRO

because Samsel “has not established that ‘immediate and irreparable injury, loss, or damage will

result to the movant before the adverse party can be heard in opposition. Fed. R. Civ. P. 65(b)(1).”

With respect to Samsel’s request for a preliminary injunction, the Court directed USMS to serve

Respondents with the petition, all papers associated with the motion for preliminary injunction,

the Order, and the complaint in 24-cv-0527. The Order provided that “Defendants may file a

response to plaintiff’s motion by 8/20/24.”

E. Samsel’s Motion for Hearing

       On August 8, 2024, Samsel filed a document captioned “Request for Hearing” that was

docketed in both actions. 24-cv-05026 Dkt. #4; 24-cv-0527 Dkt. #6. Samsel requested that the

Court order an in-person hearing on his TRO motion for the morning of August 9, 2024, or “such
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other schedule as the Court might order” and that the Court “shorten the time for a briefing

schedule and for action.” Request at 2.

F. The Orders Dated August 14, 2024

       By Order dated August 14, 2024, the Court consolidated Samsel’s two cases under Docket

No. 24-cv-05026, because they involve common questions of law or fact.

       In a separate Order, the Court denied Samsel’s motion for a hearing on his request for a

TRO as moot. The Court stated that it had directed defendants to respond to Samsel’s motion for

preliminary injunction (“PI Motion”) by August 20, 2014, and that the Court would determine

whether to set a hearing on that motion after it is fully briefed.

                                           ARGUMENT

                                       I.
                            PETITIONER’S MOTION FOR
                    A PRELIMINARY INJUNCTION MUST BE DENIED

       Samsel requests that the Court issue a preliminary injunction that would both prohibit

Federal Respondents from taking necessary action (i.e., not transferring him out of the MDC for

sentencing) and order them to take actions (arrange for medical examinations and provide him

copies of his medical records). See 24-cv-05026 Dkt. #3 (“Motion”). As show below, Samsel has

not demonstrated that this extraordinary relief is warranted.

A. Standards for Issuance of a Preliminary Injunction

       “A preliminary injunction is ‘an extraordinary remedy never awarded as of right.’” Winter

v. National Resources Defense Council, 555 U.S. 7, 20 (2008); see also Monsanto Co. v. Geertson

Seed Farms, 561 U.S. 139, 165 (2010) (“An injunction is a drastic and extraordinary remedy,

which should not be granted as a matter of course.”).




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        In the Second Circuit, a party seeking a preliminary injunction pursuant to Federal Rule of

Civil Procedure 65(a) must show: “(1) irreparable harm; (2) either a likelihood of success on the

merits or both serious questions on the merits and a balance of hardships decidedly favoring the

moving party; and (3) that a preliminary injunction is in the public interest.” North American

Soccer League, LLC v. United States Soccer Federation, Inc., 883 F.3d 32, 37 (2d Cir. 2018); see

Plaza Health Laboratories, Inc. v. Perales, 878 F.2d 577, 580 (2d Cir. 1989). Where Athe moving

party seeks to stay governmental action taken in the public interest pursuant to a statutory or

regulatory scheme, the injunction should be granted only if the moving party meets the more

rigorous likelihood-of-success standard.” Beal v. Stern, 184 F.3d 117, 122 (2d Cir. 1999) (citations

and internal quotation marks omitted).

        If a movant is seeking a prohibitory injunction, i.e., one that would maintain the status quo

by requiring the non-movant to refrain from taking some action, the ordinary preliminary

injunction standard is heightened; the movant must show a strong likelihood of success on the

merits. See Daileader v. Certain Underwriters at Lloyds London Syndicate 1861, 96 F.4th 351,

356 (2d Cir. 2024); JTH Tax, LLC v. Agnant, 62 F.4th 658, 667 (2d Cir. 2023).

B. Samsel Does Not Meet the Standards for Issuance of a Preliminary Injunction

        1. Samsel is Not Entitled to an Injunction Prohibiting His Transfer

        Samsel, who is housed at the MDC, asks this Court to prohibit USMS, BOP and/or DOJ

from transferring him to a different prison in a different city. Dkt. #3 at 2-3. Samsel cannot meet

the standards for a prohibitory preliminary injunction. He cannot show irreparable harm, a strong

likelihood of success on the merits, or that a preliminary injunction barring his transfer would be

in the public interest.




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       In his motion, Samsel states that he has been “informally informed” that it is likely that he

will be moved around August 7, 2024. Dkt. #3 at 3. Samsel argues that this Court should not

“moot” its authority to hear the habeas petition by allowing him to be transferred out of the MDC.

Id. at 2-3. However, Samsel must be moved. USMS will need to transfer Samsel to a facility closer

to the federal court in the District of Columbia for sentencing. As of the filing of this memorandum

of law, Samsel is to be sentenced on September 19, 2024. See Crim Dkt. 57-58 (Order dated July

25, 2024). His transfer indisputably is for a legitimate government objective. This Court’s

enjoining Samsel’s transfer would unduly delay his sentencing and that of his co-defendants in a

high profile case, as well as inhibit another federal court’s ability to manage its docket.

       Further, to the extent that Samsel is maintaining that his transfer from the MDC, which is

necessary for him to be sentenced in another jurisdiction, will somehow result in irreparable harm

(death or damage to his health), such argument is specious. As discussed more fully below in Point

B.2, Samsel has not been denied or deprived of proper medical care.

       Samsel describes the MDC as a “notoriously dilapidated facility” and “one of the most

crowded, troubled and dangerous prisons in the United States” and complained about having been

sent there. See Mandamus Pet. at 4, 5. Yet, Samsel wants a Court order directing that he remain

there indefinitely. The “relief” Samsel seeks would delay of his sentencing resulting in Samsel not

being designated by the BOP to a permanent facility, which would increase the possibility that he

would be provided the independent medical care he believes that he needs.

       In sum, this Court should deny Samsel’s request that it enjoin his transfer out of the MDC.

       2. The Court Should Not Order an Immediate Independent Medical Examination

       Samsel is asking the Court to order that he be “immediately examined” at a hospital to

independently determine what if any urgent care he requires to preserve his health while the Court



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considers this case. Dkt. #3 at 2. Samsel cannot show irreparable harm, a likelihood of success on

the merits, or that a preliminary injunction would be in the public interest.

       Contrary to any impression that Samsel’s motion for preliminary injunction, habeas

petition or mandamus petition may have given, Samsel is not imminent danger of death or serious

damage to his health. Samsel’s current medical conditions are opioid use disorder (for which

Suboxone is prescribed), hyperlipidemia (for which Lipitor is prescribed), and recurrent venous

blood clots (for which Apixaban is prescribed). See Bialor Decl. ¶¶ 4, 10. He also has

gynecomastia and thoracic outlet syndrome. See id. ¶ 7.

       Regarding Samsel’s longstanding gynecomastia and thoracic outlet syndrome, on July 15,

2024 – three weeks before Samsel filed his motion for a TRO on August 5, 2024, – MDC medical

staff referred Samsel for a plastic surgery consultation. See Bialor Decl. ¶ 7. The appointment was

scheduled for September 17. Id. However, it will be rescheduled because it conflicts with Samsel’s

needing to be in the District of Columbia for his sentencing on September 19. Id.; see Crim. Dkt.

p.17 (July 25, 2024 Order setting sentencing for September 19). Even if the appointment cannot

be rescheduled until after Samsel returns to the MDC, possible surgery (the reason for the

consultation) is not urgent. Bialor Decl. ¶ 7. Prior examinations and testing were benign. In August

2022, Dr. Lazar, the breast surgeon who saw Samsel for an independent consultation for bilateral

breast masses and nipple discharge, reported that her examination was not suspicious for

malignancy. See supra, at 5. There were no suspicious findings on the subsequent bilateral

mammogram or sonogram. See id. The elective breast tissue biopsy was not done at that time (two

years ago) because Samsel refused the required preoperative testing. See id.; see also Bialor Decl.

¶ 8. In November 2022, Dr. Ryer, the vascular surgeon who performed an independent evaluation




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of Samsel’s thoracic outlet syndrome concluded that Samsel would not benefit from surgery. See

Dkt. #1 p.56.

       In sum, Samsel is not entitled to a preliminary injunction. The BOP had already scheduled

an appointment with the consultant before Samsel filed his habeas petition and prior to Judge Cobb

rescheduling his sentencing to September 19. The appointment will be rescheduled.

       3. An Injunction is Not Necessary with Respect to Medical Records

       Samsel seeks an order directing Respondents to locate and disclose his medical records.

Dkt. #3 at 3. What Samsel omits from his request for a preliminary injunction is that over the past

few years, USMS and BOP have provided copies of Samsel’s medical records in their possession

to Samsel’s defense counsel multiple times. See, e.g., supra at 3 (USMS had provided all of

Samsel’s medical records available to it to defense counsel as of September 20, 2021), 4 (on

November 22, 2021, defense counsel acknowledged Samsel had received “voluminous production

of medical records”). Indeed, in his habeas petition, Samsel stated “I possess extensive medical

records that can be provided to the Court upon request.” Dkt. #1 at 3.

       In the event that Samsel is arguing that he himself does not have copies of his medical

records in his possession (contrary to his statement in the habeas petition), BOP will to provide

them to him (again) in the absence of a court order. However, in view of Samsel’s imminent

transfer out of the MDC for sentencing and the possibility that those records would not travel with

him, it would be prudent to wait. Should Samsel prefers not to wait, if he designates someone to

receive them, his BOP medical records can be produced within ten business days of the

designation. However, BOP has no obligation to obtain copies of Samsel’s medical records from

third party providers with which it does not contract.




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       In sum, no court order is necessary concerning the production of Samsel’s medical records

in the possession of Federal Respondents. Therefore, Samsel’s request for injunctive relief should

be denied.

                                       II.
                            PETITIONER’S REQUEST FOR
                     A WRIT OF HABEAS CORPUS MUST BE DENIED

       When a federal prisoner challenges prison conditions, he may seek habeas relief under 28

U.S.C. § 2241. See Carmona v. U.S. Bureau of Prisons, 243 F.3d 629, 632 (2d Cir. 2001). Habeas

relief is available if a prisoner is “in custody in violation of the Constitution or laws or treaties of

the United States.” 28 U.S.C. § 2241(c)(3).

       Samsel’s request for habeas relief directing Respondents to immediately release him “for

transport to external physicians or teams or departments of physicians who are not under the

influence or control of the Respondents” must be denied. See Petition at 7. Samsel failed to exhaust

administrative remedies, and has offered no basis for the Court to waive the exhaustion

requirement. In the event that the Court finds a basis to waive the administrative exhaustion

requirement, Samsel cannot show that he is entitled to the habeas relief he is demanding.

Accordingly, the Petition must be denied.

   A. Samsel Has Not Exhausted Administrative Remedies

       “[F]ederal prisoners must exhaust their administrative remedies prior to filing a petition for

habeas relief.” Carmona, 243 F.3d at 634. Nevertheless, “[a] court may excuse the failure to

exhaust where (1) available remedies provide no genuine opportunity for adequate relief;

(2) irreparable injury may occur without immediate judicial relief; (3) administrative appeal would

be futile; and (4) in certain circumstances a plaintiff has raised a substantial constitutional

question.” Lallave v. Martinez, 609 F. Supp. 3d 164, 179 (E.D.N.Y. 2022) (internal quotation



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marks and citation omitted) (holding in that case, that exhaustion of BOP administrative remedies

as a perquisite to habeas review would not be futile and that the petitioner could not show cause

and prejudice that would excuse her from the exhaustion requirement due to irreparable harm in

the absence of immediate habeas review).

        Here, Samsel has not initiated, let alone completed the BOP Administrative Remedy

Program with respect to his current request for habeas relief of “transport to external physicians or

teams or departments of physicians who are not under the influence or control of the Respondents.”

The multi-step administrative remedy process requires an inmate to: first attempt to resolve the

issue informally with prison staff; if unsuccessful, file a Request for Administrative Remedy form

(BP-9) with the warden; if the Warden denies the request or does not respond within 20 days,

appeal to the BOP Regional Director using the BP-10 form; and if the Regional Director denies

the appeal or fails to respond within 30 days, appeal to the BOP General Counsel using the Central

Office Administrative Remedy Appeal form (BP-11). 28 C.F.R. §§ 542.13-542.15. See also Lewis

Decl.” ¶¶ 5-9. It is not until the General Counsel denies the appeal or fails to respond within 40

days that the claim is administratively exhausted. See Lallave, 609 F. Supp. 3d at 179.

        At most, on September 13, 2022, 9 Samsel filed a BP-9 form concerning “MEDICARE

CARE – DELAY/ACCESS TO IMPROPER/INADEQUATE,” which the Warden at the FDC

Philadelphia rejected on September 15, 2022, because Samsel had not attempted informal

resolution first. See Lewis Decl. ¶ 11 and Ex. 4 at 2. Samsel did not file a form B-10 or otherwise




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          Eleven days earlier, in the criminal case, Samsel had filed a renewed motion for temporary release
for the purpose of having a surgical procedure to his chest. See supra at 5-6. The motion was denied because
Samsel “has not shown that the government’s treatment is inadequate, partially because [Samsel] has
refused procedures meant to address his health concerns.” Crim Dkt. p.35.

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further pursue his administrative remedies in 2022. Lewis Decl. ¶ 11. In the intervening two years,

Samsel has not pursued his available administrative remedies.

         Because Samsel did not exhaust administrative remedies, he is not entitled to habeas

relief. 10

         2. Samsel is Not Entitled to a Writ of Habeas Corpus

         In the event that the Court waives the administrative exhaustion requirement, Samsel has

not shown that he is entitled to a writ of habeas corpus directing Federal Respondents to

immediately release and transport him for external medical evaluation.

         Although Samsel invokes that Eighth Amendment (see Petition at 10, 32-35), he has not

shown that his constitutional rights are being violated. The Eighth Amendment, which prohibits

cruel and inhuman punishment, proscribes “deliberate indifference to serious medical needs of

prisoners.” Estelle v. Gamble, 429 U.S. 97, 104 (1976). “[N]ot every lapse in medical care is a

constitutional wrong.” Salahuddin v. Goord, 467 F.3d 263, 279 (2d Cir. 2006). To establish

deliberate indifference that violates the Eighth Amendment the prisoner must show: (1) that he has

been actually deprived of adequate medical care; and (2) the inadequacy in medical care is

sufficiently serious. Id. at 279-80. Samsel cannot show that either of these requirements is satisfied.

         Federal Respondents are not “knowingly, intentionally, consistently, and by pattern and

practice systematically denying medical treatment” to Samsel. See Pet. at 10, 19. As discussed

above at 14-15 and shown in the Bialor Declaration, Samsel has been receiving medical care for

his current conditions since his return to the MDC in late February 2024. In addition, on July 15,

2024, BOP medical staff ordered the independent consultative examination by a plastic surgeon


         10
           Samsel has not advanced an argument that there is any basis for the Court to waive the exhaustion
requirement Federal Respondents reserve the right to respond to any such argument that Samsel may make
in reply to this opposition.

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that Samsel wants for his gynecomastia and thoracic outlet syndrome. See Bialor Decl. ¶ 7. It

merits noting that Samsel has a history of impeding Federal Respondents’ efforts to provide

medical care and testing. See supra at 4-6. Samsel could have had the elective surgical biopsy two

years ago. It has been his own lack of cooperation, as well as his disruptive conduct that has caused

Federal Defendants to transfer him between facilities, that has impeded Samsel from receiving

noncritical medical care that he believes is so pressing. As to Samsel’s thoracic outlet syndrome,

in November 2022, the consultative vascular surgeon concluded that the surgery Samsel wanted

(1st rib resection) would not be of benefit to him. See Dkt. #1 p.56.

       Finally, Federal Respondents note that, unrelated to Samsel’s unfounded claims concerning

inadequate medical treatment, the habeas petition includes, without explanation, photographs

seemingly intended to trigger disgust or invoke sympathy concerning his conditions of

confinement at the MDC. See Dkt. 1 at 13. These photographs, which have appeared in national

media and online, are fabrications. Samsel included the photographs in his August 27, 2023 motion

for reconsideration of his detention order in his criminal case (Crim Dkt. Doc. #264). As the

Government’s response to that motion pointed out, they are staged photographs taken with a

contraband cellphone showing Samsel on a yoga mat (not his bed) in a broom closet (not his cell)

while wearing only boxer shorts (not his BOP-issued clothing). Crim. Dkt. Doc. #266 at 4-7.

       In sum, the habeas petition must be denied because Samsel did not exhaust administrative

remedies prior to filing it. In any event, Federal Respondents are not violating Samsel’s Eighth

Amendment rights, and Samsel cannot show that he is entitled to relief on that basis.




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                                          III.
                               PETITIONER’S REQUEST FOR
                          A WRIT OF MANDAMUS MUST BE DENIED

          The mandamus relief that Samsel seeks against Federal Respondents primarily concerns

medical care and to some extent duplicates his habeas petition. As discussed below, Samsel does

not satisfy the requirements for issuance of a writ of mandamus.

   A. Mandamus Standards

          A district court has “original jurisdiction of any action in the nature of mandamus to compel

an officer or employee of the United States or any agency thereof to perform a duty owned to the

plaintiff.” 28 U.S.C. § 1361. “The prerequisites for issuance of a writ of mandamus are

peremptory: (1) a clear right in the plaintiff to the relief sought; (2) a plainly defined and

peremptory duty on the part of the defendant to do the act in question; and (3) no other adequate

remedy available.” Anderson v. Bowen, 881 F.2d 1, 5 (2d Cir. 1989) (internal quotation marks and

citations omitted); see also Benzman v. Whitman, 523 F.3d 119, 132-33 (2d Cir. 2008).

          “The common law writ of mandamus, as codified in 28 U.S.C. § 1361, is intended to

provide a remedy for a plaintiff only if he has exhausted all other avenues of relief and only if the

defendant owes him a clear nondiscretionary duty.” Heckler v. Ringer, 466 U.S. 602, 616-17

(1982).

   B. Samsel Does Not Satisfy the Requirements for Issuance of a Writ of Mandamus

          Samsel’s petition for a writ of mandamus seeks to have this Court order Federal

Respondents to: immediately (“today”) transport him to the nearest hospital with “a full-range of

medical capabilities” including the glandsectomy procedure, treatment of blood clots and surgery

to correct congenital bone deformities and/or birth defects; cooperate to ensure that the hospital

has access to all of his medical records and contact information for previous doctors; cooperate in



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allowing him to obtain “updated diagnosis, documentation, prescription and medical reports so

that [he] may present them to the Court as evidence;” transport him to Court to appear in this case;

cooperate in providing prescribed medication, specifically blood thinning medication; and not

consider the cost of medical treatment and surgery. 24-cv-05027 Dkt. #1 at 14-17 (items (C)-(E),

(I)-(J).

           Samsel does not have a clear right to any of this relief, and Federal Respondents do not

have a plainly defined ad peremptory duty to act. Although Samsel does have a right to adequate

medical care (see supra at 18-19), he is not entitled to dictate that Federal Defendants perform

specific acts that they do not have a duty to perform. Samsel is not in such dire straits as his various

court filings suggest. Samsel does not have any medical condition requiring “immediate” transport

to the nearest hospital for evaluation. Rather, he has longstanding, non-life-threatening conditions

medical conditions for which the BOP has been providing adequate medical care.

           The breast surgeon who evaluated Samsel with respect to his gynecomastia in 2022, made

no findings suspicious for malignancy, and her recommendation for a limited biopsy was

precautionary measure, not due to a critical condition. See supra at 5-6, Indeed, after Samsel

refused to have the required pre-operative testing, and the hospital canceled the procedure, Dr.

Lazar reported that there was no need for a follow-up examination. See supra at 6. No treatment

has been recommended. Samsel’s thoracic outlet syndrome is a longstanding condition that he has

had since at least 2015, well before his arrest in January 2021. See 24-cv-05027 Dkt. #1 at 6-7

(“I, . . ., have had emergency medical issues since 2015 when doctors discovered I suffer from

Bilateral Neurogenic Thoracic Outlet Syndrome, a condition which causes compression of my

blood vessel between my neck and shoulder.”). The vascular surgeon who evaluated Samsel in

November 2022, concluded that he would not benefit from surgery. See supra at 6-7.



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        In any event, MDC medical staff have already scheduled a surgical consult for Samsel

regarding both of these conditions. See Bialor Decl. ¶ 7.

       To the extent that Samsel is seeking a writ of mandamus ordering Federal Respondents to

prescribe blood thinning medication, such relief is wholly unwarranted. MDC medical staff

prescribed an anti-coagulant (Apixaban) for Samsel’s history of recurrent blood clots, and are

providing refills of that prescription. See Bialor Decl. ¶ 4.

       As to medical records, BOP cannot provide records or information that it does not possess.

BOP does not have records from Samsel’s outside providers that have not been shared with it.

       Samsel also requests that the Court order Attorney General Garland to “address his duties

under 42 U.S. Code § 1997a” to protect persons in an institution, “investigate, initiate, and order

immediate medical treatment as specified below” and “notify the Court whether or not he will act

under 42 U.S. Code § 1997a so that the Court will know if it needs to take other action.” 24-cv-

05027 Dkt. #1 at 16 (item (H)). This ambiguous request appears to be referring to Samsel’s request

in (I), which is the “immediate medical treatment specified below,” and asks that Respondents be

ordered to provide him with blood thinning medication. Id. As noted above, an anti-coagulant –

i.e., a blood thinning medication – has been prescribed and the prescriptions have been refilled.

See Bialor Decl. ¶ 4. Samsel’s assertions to the contrary are untrue.

       In addition, Samsel is not entitled to issuance of a writ of mandamus because he has not

exhausted all other avenues of relief. As shown above at 17-19, Samsel has not pursued the BOP

Administrative Remedy Program, which is available to him. On this basis alone, he cannot obtain

mandamus relief. Samsel only sought habeas relief simultaneously with his mandamus action.

       In sum, Samsel’s requests issuance of a writ of mandamus must be denied.




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                                        CONCLUSION

       For the foregoing reasons, Federal Respondents respectfully request that the Court deny

Samsel’s motion for a preliminary injunction, deny Samsel’s petition for a writ of habeas corpus,

deny Samsel’s request for issuance of a writ of mandamus, and dismiss this action.

Dated: Brooklyn, New York
       August 20, 2024
                                                           Respectfully submitted,
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